                            Case 2:21-cv-00624-MMD-NJK Document 1 Filed 04/15/21 Page 1 of 18




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                       11    Attorneys for Plaintiff
                             TROVE BRANDS, LLC d/b/a THE BLENDERBOTTLE COMPANY
                       12
                                                               UNITED STATES DISTRICT COURT
                       13
                                                                   DISTRICT OF NEVADA
                       14

                       15     TROVE BRANDS, LLC d/b/a THE                       Case No.: 2:21-cv-00624
                              BLENDERBOTTLE COMPANY, a Utah
                       16     limited liability company,
                                                                                COMPLAINT
                       17                      Plaintiff,
                                                                                Jury Demand
                       18                 v.
                       19     SYNERGY CHC CORP. d/b/a FLAT
                              TUMMY CO., a Nevada corporation
                       20
                                                  Defendant.
                       21

                       22
                                     Plaintiff Trove Brands LLC, d/b/a The BlenderBottle Company (“BlenderBottle®”)
                       23
                             hereby complains of Synergy CHC Corp., d/b/a Flat Tummy Co. (“Flat Tummy”) and alleges as
                       24
                             follows:
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                            Case 2:21-cv-00624-MMD-NJK Document 1 Filed 04/15/21 Page 2 of 18




                        1                                     JURISDICTION AND VENUE

                        2            1.     This Court has original subject matter jurisdiction over the claims in this action

                        3    that relate to patent infringement, trade dress infringement, false designation of origin, and federal

                        4    unfair competition pursuant to 35 U.S.C. §§ 271 and 281, 28 U.S.C. §§ 1331 and 1338, and 15

                        5    U.S.C. §§ 1116, 1121(a), and 1125(a), as these claims arise under the laws of the United States.

                        6    The Court has supplemental jurisdiction over the claims that arise under state statutory and

                        7    common law pursuant to 28 U.S.C. § 1367(a) because the state law claims are so related to the

                        8    federal claims that they form part of the same case or controversy and derive from a common

                        9    nucleus of operative facts.
                       10            2.     This Court has personal jurisdiction over Defendant Flat Tummy because Flat

                       11    Tummy is incorporated in this judicial district. Defendant also has a continuous, systematic, and

                       12    substantial presence within this judicial district. For example, Defendant has been selling and

                       13    offering for sale infringing products in this judicial district, and committing acts of infringement

                       14    in this judicial district, including but not limited to, selling infringing products to consumers

                       15    and/or retailers in this district and selling into the stream of commerce knowing such products

                       16    would be sold in Nevada and this district. These acts form a substantial part of the events or

                       17    omissions giving rise to BlenderBottle®’s claims.

                       18            3.     Upon information and belief, venue is proper in this judicial district under 28
                       19    U.S.C. § 1391 because Flat Tummy is incorporated in this judicial district.

                       20                                              THE PARTIES

                       21            4.     Plaintiff Trove Brands, LLC doing business as the BlenderBottle Company is a

                       22    limited liability company organized and existing under the laws of the State of Utah, with its

                       23    principal place of business located at 250 South 850 East, Lehi, Utah 84043.

                       24            5.     BlenderBottle® is informed and believes, and, based thereon, alleges that

                       25    Defendant Flat Tummy is a Nevada corporation with an address of 2616 Willow Wren Dr., North

                       26    Las Vegas, Nevada 89084.

                       27                                      GENERAL ALLEGATIONS

                       28            6.     BlenderBottle® revolutionized the way supplements are mixed and consumed.
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                            Case 2:21-cv-00624-MMD-NJK Document 1 Filed 04/15/21 Page 3 of 18




                        1    Through the tireless efforts of its designers and engineers over nearly two decades,

                        2    BlenderBottle® has pioneered innovative technology and path-breaking designs to create

                        3    premium products that help simplify everyday life.        Available in more than 90 countries

                        4    worldwide and in over 60,000 retail locations, BlenderBottle®’s shakers have become the go-to

                        5    products for outdoor enthusiasts, gym goers, serious protein drinkers and more.          Products

                        6    embodying BlenderBottle®’s proprietary designs and technology have been lauded by consumers

                        7    and the media, including Good Morning America, Reader’s Digest, Self, the Today Show, Men’s

                        8    Fitness, and others.

                        9            7.      BlenderBottle® protects its substantial investment in innovation and design from
                       10    imitators with its intellectual property rights.

                       11            8.      On December 31, 2013, the United States Patent and Trademark Office

                       12    (“USPTO”) duly and lawfully issued United States Design Patent No. D696,551 (the “D551

                       13    Patent”), titled “BOTTLE LID HAVING INTEGRATED HANDLE.” BlenderBottle® is the

                       14    exclusive licensee of the D551 Patent and has been granted all rights thereunder, including the

                       15    right and standing to enforce the D551 Patent. A true and correct copy of the D551 Patent is

                       16    attached hereto as Exhibit 1.

                       17            9.      On February 2, 2016, the USPTO duly and lawfully issued United States Design

                       18    Patent No. D748,478 (the “D478 Patent”), titled “CLOSURE FOR A CONTAINER.”
                       19    BlenderBottle® is the exclusive licensee of the D478 Patent and has been granted all rights

                       20    thereunder, including the right and standing to enforce the D478 Patent. A true and correct copy

                       21    of the D478 Patent is attached hereto as Exhibit 2.

                       22            10.     On June 12, 2018, the USPTO duly and lawfully issued United States Design

                       23    Patent No. D820,038 (the “D038 Patent”), titled “LID FOR A CONTAINER.” BlenderBottle®

                       24    is the exclusive licensee of the D038 Patent and has been granted all rights thereunder, including

                       25    the right and standing to enforce the D038 Patent. A true and correct copy of the D038 Patent is

                       26    attached hereto as Exhibit 3.

                       27            11.     On June 12, 2018, the USPTO duly and lawfully issued United States Design

                       28    Patent No. D697,798 (the “D798 Patent”), titled “CONTAINER.”              BlenderBottle® is the
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                            Case 2:21-cv-00624-MMD-NJK Document 1 Filed 04/15/21 Page 4 of 18




                        1    exclusive licensee of the D798 Patent and has been granted all rights thereunder, including the

                        2    right and standing to enforce the D798 Patent. A true and correct copy of the D798 Patent is

                        3    attached hereto as Exhibit 4.

                        4            12.    On June 12, 2018, the USPTO duly and lawfully issued United States Patent No.

                        5    10,165,877    (the   “’877      Patent”),   titled       “STACKABLE   CONTAINER        SYSTEM.”

                        6    BlenderBottle® is the exclusive licensee of the ’877 Patent and has been granted all rights

                        7    thereunder, including the right and standing to enforce the ’877 Patent. A true and correct copy

                        8    of the ’877 Patent is attached hereto as Exhibit 5.

                        9            13.    Defendant manufactures, uses, sells, offers for sale, and/or imports into the United
                       10    States shakers that have infringed BlenderBottle®’s patent rights, including the D551 Patent,

                       11    D478 Patent, D038 Patent, D798 Patent, and ’877 Patent (collectively the “Asserted Patents”).

                       12            14.    BlenderBottle® manufactures and sells shakers bearing a distinctive trade dress in

                       13    the overall design of its shaker bottle (the “Bottle Trade Dress”). An example of BlenderBottle®’s

                       14    Bottle Trade Dress is depicted below.

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                       24            15.    The Bottle Trade Dress includes: a tall cylindrical form; a top lid element with a

                       25    tall shoulder; a recessed domed top from which a conical spout protrudes on one side and a pair

                       26    of brackets on the opposing side; and the brackets host a pivoting arm containing a circular spout

                       27    closure element.

                       28            16.    As a result of BlenderBottle®’s widespread use and display of the Bottle Trade
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                            Case 2:21-cv-00624-MMD-NJK Document 1 Filed 04/15/21 Page 5 of 18




                        1    Dress in association with its shaker bottles, (a) the public has come to recognize and identify

                        2    shakers bearing the Bottle Trade Dress as emanating from BlenderBottle®, (b) the public

                        3    recognizes that shakers bearing the Bottle Trade Dress constitute high quality products that

                        4    conform to the specifications created by BlenderBottle®, and (c) the Bottle Trade Dress has

                        5    established strong secondary meaning and extensive goodwill.

                        6            17.    The Bottle Trade Dress is not functional. The design features embodied by the

                        7    Bottle Trade Dress are not essential to the function of the product. A container that allows one to

                        8    combine powders and liquids and that also serves as drink dispenser can have many different

                        9    forms and shapes. The Bottle Trade Dress is not in its particular shape because it works better in
                       10    that shape. There are numerous alternative shapes and structures that allow a consumer to

                       11    combine powders and liquids and use them as a drink dispenser. Examples of commercially

                       12    available alternatives are depicted in the table below:

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                       14                                 “PUSHLIMITS                                      “Rubbermaid®
                       15                               Designed by Artoid”                              SHAKER BOTTLE”
                                                              product                                         product
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                                                         “Contigo® LEAK-                                  “BluePeak Shaker
                       22                                PROOF SHAKER                                      Bottle” product
                       23                                BOTTLE” product

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                            Case 2:21-cv-00624-MMD-NJK Document 1 Filed 04/15/21 Page 6 of 18




                        1            18.       Further, the design features of the Bottle Trade Dress are not comparatively simple

                        2    or inexpensive to manufacture because the elements are complex. For example, the lid shown in

                        3    the Bottle Trade Dress is more expensive to manufacture than other lids. The design features of

                        4    the Bottle Trade Dress do not affect the quality of the product. The design of the Bottle Trade

                        5    Dress is not a competitive necessity.

                        6            19.       The Bottle Trade Dress is an invaluable asset essential to BlenderBottle®’s

                        7    success and represents the design of its signature products.

                        8            20.       Subsequent to BlenderBottle®’s use and adoption of the Bottle Trade Dress,

                        9    Defendant has developed, manufactured, imported, advertised, and/or sold shaker bottles that use
                       10    trade dress that is confusingly similar to the Bottle Trade Dress.

                       11            21.       Defendant manufactures, uses, sells, offers for sale, promotes, advertises and/or

                       12    imports into the United States the following shaker bottles which infringe BlenderBottle®’s

                       13    intellectual property rights (the “Flat Tummy Shaker Bottles”):

                       14                 Flat Tummy Shaker Bottle I                     Flat Tummy Shaker Bottle II
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                                     22.       On February 27, 2020, BlenderBottle® sent Defendant a cease and desist letter
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                             demanding that Defendant cease selling shaker bottles that infringe the D551 Patent, D478 Patent,
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                             D038 Patent, and the Bottle Trade Dress. A true and correct copy of this letter is attached as
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                            Case 2:21-cv-00624-MMD-NJK Document 1 Filed 04/15/21 Page 7 of 18




                        1    Exhibit 6.

                        2              23.   Despite BlenderBottle®’s letters and subsequent correspondences seeking to

                        3    resolve this dispute without litigation, Defendant has continued to sell at least Flat Tummy Shaker

                        4    Bottle II.

                        5              24.   BlenderBottle® is informed and believes, and based thereon alleges that

                        6    Defendant has intended to blatantly copy BlenderBottle®’s proprietary designs, and pass off its

                        7    goods as BlenderBottle®’s high quality products to misappropriate the immense goodwill that

                        8    BlenderBottle® has spent enormous time, effort, and expense to cultivate in the marketplace.

                        9    Defendant’s use of the Bottle Trade Dress in commerce is likely to cause confusion, cause
                       10    mistake, and to deceive as to an affiliation, connection, or association of Defendant and/or its

                       11    products with BlenderBottle®, when there is none.

                       12              25.   Defendant’s acts complained of herein have caused BlenderBottle® to suffer

                       13    irreparable injury to its business. BlenderBottle® will continue to suffer substantial loss and

                       14    irreparable injury unless and until Defendant is enjoined from its wrongful actions complained of

                       15    herein.

                       16              26.   BlenderBottle® is informed and believes, and on that basis alleges that

                       17    Defendant’s acts complained of herein are willful and deliberate.

                       18                                     FIRST CLAIM FOR RELIEF
                       19                                              (Patent Infringement)
                                                                         (35 U.S.C. § 271)
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                       21              27.   BlenderBottle® repeats and re-alleges the allegations of paragraphs 1-26 of this

                       22    Complaint as if set forth fully herein.

                       23              28.   This is a claim for patent infringement under 35 U.S.C. § 271.

                       24              29.   Flat Tummy, through its agents, employees, and/or servants has knowingly,

                       25    intentionally, and willfully infringed the’877 Patent either literally or under the doctrine of

                       26    equivalents, through for example, the manufacture, use, sale, offer for sale, and/or importation

                       27    into the United States of, at least, the Flat Tummy Shaker Bottles.

                       28              30.   The Flat Tummy Shaker Bottles infringe at least Claim 1 of the ’877 Patent as
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                            Case 2:21-cv-00624-MMD-NJK Document 1 Filed 04/15/21 Page 8 of 18




                        1    shown in the claim chart attached hereto as Exhibit 7.

                        2            31.    Defendant, through its agents, employees and/or servants has knowingly,

                        3    intentionally, and willfully infringed the D551 Patent, the D478 Patent, the D798 Patent, and the

                        4    D038 Patent by making, using, selling, offering for sale, and/or importing products, including the

                        5    Flat Tummy Shaker Bottles that have designs that infringe these patents. For example, the side-

                        6    by-side visual comparison of: (1) the D551 Patent, D478 Patent, and D038 Patent and the lid of

                        7    Defendant’s Flat Tummy Shaker Bottle I, and (2) the D798 Patent and the container of

                        8    Defendant’s Flat Tummy Shaker Bottle I, shown below establishes that in the eye of the ordinary

                        9    observer, giving such attention as a purchaser usually gives, the designs in Defendant’s Flat
                       10    Tummy Shaker Bottles are substantially the same as the claimed designs of the D551 Patent, D478

                       11    Patent, D038 Patent, and D798 Patent because the resemblance is such as to deceive such an

                       12    observer inducing him to purchase one supposing it to the be the other. As a result, Defendant

                       13    infringes the D551 Patent, D478 Patent, D038 Patent, and D798 Patent.

                       14         Lid for Flat Tummy’s Shaker Bottle I                U.S. Design Patent No. D696,551
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                            Case 2:21-cv-00624-MMD-NJK Document 1 Filed 04/15/21 Page 9 of 18




                        1         Lid for Flat Tummy’s Shaker Bottle I       U.S. Design Patent No. D748,478
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                        9         Lid for Flat Tummy’s Shaker Bottle I       U.S. Design Patent No. D820,038
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                       18             Flat Tummy’s Shaker Bottle II          U.S. Design Patent No. D697,798
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                            Case 2:21-cv-00624-MMD-NJK Document 1 Filed 04/15/21 Page 10 of 18




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                       19             32.   BlenderBottle® is informed and believes, and thereon alleges that Defendant knew

                       20    of the D551 Patent, D478 Patent, and D038 Patent at least as early as February 2020, when

                       21    BlenderBottle® sent a cease and desist letter to Defendant notifying it of the D551 Patent, D478

                       22    Patent, and D038 Patent.

                       23             33.   As a direct and proximate result of Defendant’s acts of infringement, Defendant

                       24    has derived and received gains, profits, and advantages in an amount that is not presently known

                       25    to BlenderBottle®.

                       26             34.   Pursuant to 35 U.S.C. § 284, BlenderBottle® is entitled to damages for

                       27    Defendant’s infringing acts and treble damages together with interests and costs as fixed by this

                       28    Court.
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                            Case 2:21-cv-00624-MMD-NJK Document 1 Filed 04/15/21 Page 11 of 18




                        1            35.    Pursuant to 35 U.S.C. § 285, BlenderBottle® is entitled to reasonable attorneys’

                        2    fees for the necessity of bringing this claim in this exceptional case.

                        3            36.    Pursuant to 35 U.S.C. § 289, BlenderBottle® is entitled to Defendant’s total profits

                        4    from Defendant’s infringement of the D551 Patent, D478 Patent, D038 Patent, and D798 Patent.

                        5                                    SECOND CLAIM FOR RELIEF

                        6                                        (Trade Dress Infringement)
                                                                    (15 U.S.C. § 1125(a))
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                                     37.    BlenderBottle® repeats and re-alleges the allegations of paragraphs 1-36 of this
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                             Complaint as if set forth fully herein.
                        9
                                     38.    This is a claim for trade dress infringement under 15 U.S.C. § 1125(a).
                       10
                                     39.    Subsequent to BlenderBottle®’s use and adoption of the Bottle Trade Dress, and
                       11
                             the development of secondary meaning in that trade dress, Defendant has developed,
                       12
                             manufactured, imported, advertised, and/or sold products, including the Flat Tummy Shaker
                       13
                             Bottle I, that uses trade dress that is confusingly similar to the Bottle Trade Dress. An example
                       14
                             of Defendant’s infringing use of the Bottle Trade Dress is shown below:
                       15
                                                                       Bottle Trade Dress:
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                            Case 2:21-cv-00624-MMD-NJK Document 1 Filed 04/15/21 Page 12 of 18




                        1                                           Infringing Bottle:

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                                     40.    Defendant’s use of the Bottle Trade Dress in connection with its products is likely
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                             to cause confusion, or to cause mistake, or to deceive as to the affiliation, connection, or
                       12
                             association of Defendant with BlenderBottle®.
                       13
                                     41.    BlenderBottle® is informed and believes, and based thereon alleges, that
                       14
                             Defendant infringed BlenderBottle®’s trade dress rights with the intent to unfairly compete with
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                             BlenderBottle®, to trade upon BlenderBottle®’s reputation and goodwill by causing confusion
                       16
                             and mistake among customers and the public, and to deceive the public into believing that
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                             Defendant’s products are associated with, sponsored by, originated from, or are approved by
                       18
                             BlenderBottle®, when they are not, resulting in a loss of reputation in, and mischaracterization
                       19
                             of, BlenderBottle®’s products and its brand, damaging its marketability and saleability.
                       20
                                     42.    Defendant’s activities constitute willful and intentional infringement of
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                             BlenderBottle®’s trade dress rights in total disregard of BlenderBottle®’s proprietary rights, and
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                             were done despite Defendant’s knowledge that use of the Bottle Trade Dress was and is in direct
                       23
                             contravention of BlenderBottle®’s rights.
                       24
                                     43.    BlenderBottle® is informed and believes, and thereon alleges, that Defendant has
                       25
                             derived and received, and will continue to derive and receive, gains, profits, and advantages from
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                             Defendant’s trade dress infringement in an amount that is not presently known to BlenderBottle®.
                       27
                             By reason of Defendant’s actions, constituting trade dress infringement, BlenderBottle® has been
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     LAS VEGAS,
   NEVADA 89144
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                            Case 2:21-cv-00624-MMD-NJK Document 1 Filed 04/15/21 Page 13 of 18




                        1    damaged and is entitled to monetary relief in an amount to be determined at trial.

                        2            44.      Pursuant to 15 U.S.C. § 1117, BlenderBottle® is entitled to recover (1)

                        3    Defendant’s profits, (2) any damages sustained by BlenderBottle®, and (3) the costs of the action.

                        4    In assessing damages, the Court may enter judgment up to three times actual damages, and in

                        5    awarding profits, the Court may in its discretion enter judgment for such sum as the court shall

                        6    find to be just, according to the circumstances of the case.           The Court may also award

                        7    BlenderBottle® its reasonable attorneys’ fees for the necessity of bringing this claim in this

                        8    exceptional case.

                        9            45.      Due to Defendant’s actions, constituting trade dress infringement, BlenderBottle®
                       10    has suffered great and irreparable injury, for which BlenderBottle® has no adequate remedy at

                       11    law.

                       12            46.      Defendant will continue to infringe BlenderBottle®’s trade dress rights to the great

                       13    and irreparable injury of BlenderBottle®, unless and until Defendant is enjoined by this Court.

                       14                                      THIRD CLAIM FOR RELIEF

                       15                  (False Designation of Origin, Passing Off, & Federal Unfair Competition)
                                                                     (15 U.S.C. § 1125(a))
                       16

                       17            47.      BlenderBottle® repeats and re-alleges the allegations of paragraphs 1-46 of this

                       18    Complaint as if set forth fully herein.

                       19            48.      This is a claim for unfair competition and false designation of origin arising under

                       20    15 U.S.C. § 1125(a).

                       21            49.      Defendant’s use of the Bottle Trade Dress, without BlenderBottle®’s consent,

                       22    constitutes false designation of origin, false or misleading description of fact, or false or

                       23    misleading representation of fact, which is likely to cause confusion, or to cause mistake, or to

                       24    deceive as to the affiliation, connection, or association of such entity with another entity, or as to

                       25    the origin, sponsorship, or approval of its goods or commercial activities by another entity in

                       26    violation of 15 U.S.C. § 1125(a).

                       27            50.      Defendant’s use of the Bottle Trade Dress, without BlenderBottle®’s consent,

                       28    constitutes a false designation of origin, false or misleading description of fact, or false or
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     LAS VEGAS,
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   (702) 382-4804
                            Case 2:21-cv-00624-MMD-NJK Document 1 Filed 04/15/21 Page 14 of 18




                        1    misleading representation of fact, which in commercial advertising or promotion, misrepresents

                        2    the nature, characteristics, qualities, or geographic origin of its products or commercial activities

                        3    in violation of 15 U.S.C. § 1125(a).

                        4            51.    BlenderBottle® is informed and believes, and based thereon alleges that

                        5    Defendant’s acts of false designation of origin, passing off, and unfair competition have been

                        6    willful and without regard to BlenderBottle®’s rights.

                        7            52.    Pursuant to 15 U.S.C. § 1117, BlenderBottle® is entitled to recover (1)

                        8    Defendant’s profits, (2) any damages sustained by BlenderBottle®, and (3) the costs of the action.

                        9    In assessing damages, the Court may enter judgment up to three times actual damages, and in
                       10    awarding profits, the Court may in its discretion enter judgment for such sum as the Court finds

                       11    to be just, according to the circumstances of the case. The Court may also award BlenderBottle®

                       12    its reasonable attorneys’ fees for the necessity of bringing this claim in this exceptional case.

                       13            53.    BlenderBottle® has been damaged by Defendant’s conduct in an amount to be

                       14    determined at trial.

                       15            54.    Due to Defendant’s actions, constituting false designation of origin, false or

                       16    misleading statements, false or misleading description of fact, false or misleading representations

                       17    of fact, passing off, and unfair competition, BlenderBottle® has suffered and continues to suffer

                       18    great and irreparable injury, for which BlenderBottle® has no adequate remedy at law.
                       19            55.    Defendant will continue its false designation of origin, false or misleading

                       20    statements, false or misleading description of fact, false or misleading representations of fact,

                       21    passing off, and unfair competition, unless and until Defendant is enjoined by this Court.

                       22                                   FOURTH CLAIM FOR RELIEF

                       23     (Violation of Nevada Uniform Deceptive Trade Practices Act and Nevada Common Law Unfair
                                                                    Competition)
                       24                                             (NRS 598)
                       25
                                     56.    BlenderBottle® hereby repeats, realleges, and incorporates by reference
                       26
                             paragraphs 1-55 of this Complaint as though fully set forth herein
                       27
                                     57.    Defendant has engaged in acts violating Nevada law including, but not limited to,
                       28
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                            Case 2:21-cv-00624-MMD-NJK Document 1 Filed 04/15/21 Page 15 of 18




                        1    trade dress infringement, false designation of origin, passing off, and federal unfair competition.

                        2    Such acts cause a likelihood of confusion and/or misunderstanding as to the source of its goods,

                        3    a likelihood of confusion and/or misunderstanding as to an affiliation, connection, or association

                        4    with genuine BlenderBottle® products.

                        5            58.    Defendant’s aforementioned acts constitute a willful violation of Nevada Uniform

                        6    Deceptive Trade Practices Act, NRS 598, et seq and Nevada Common Law.

                        7            59.    Defendant’s aforementioned acts have damages BlenderBottle® in an amount to

                        8    be determined at trial.

                        9            60.    Defendant has irreparably injured BlenderBottle®. Such irreparable injury will
                       10    continue unless Defendant is preliminarily and permanently enjoined by this Court from further

                       11    violation of BlenderBottle®’s rights, for which BlenderBottle® has no adequate remedy at law.

                       12                                        PRAYER FOR RELIEF

                       13            WHEREFORE, BlenderBottle® prays for judgment in its favor against Defendant for

                       14    the following relief;

                       15            A. An Order adjudging Defendant to have willfully infringed the Asserted Patents under

                       16    35 U.S.C. § 271;

                       17            B. That Defendant account for all gains, profits, and advantages derived through

                       18    Defendant’s infringement of the Asserted Patents in violation of 35 U.S.C. § 271, and that

                       19    Defendant pay to BlenderBottle® all damages suffered by BlenderBottle® and/or Defendant’s

                       20    total profits from such infringement pursuant to 35 U.S.C. §§ 284 and 289;

                       21            C. That the Court find for BlenderBottle® against Defendant on BlenderBottle®’s claim

                       22    of trade dress infringement, false designation of origin, passing off, violation of the Nevada

                       23    Uniform Deceptive Trade Practices Act, NRS 598, et seq, and unfair competition under Nevada

                       24    Common Law;

                       25            D. A preliminary and permanent injunction enjoining Defendant, its respective officers,

                       26    directors, agents, servants, employees, customers, and attorneys, and those persons in active

                       27    concert or participation with Defendant, from infringing United States Patent No. 10,165,877

                       28    and/or United States Design Patent Nos. D696,551, D748,478, D820,038, and/or D697,798 in
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                            Case 2:21-cv-00624-MMD-NJK Document 1 Filed 04/15/21 Page 16 of 18




                        1    violation of 35 U.S.C. § 271, including, for example, through the manufacture, use, sale, offer for

                        2    sale, and/or importation into the United States of Defendant’s products accused of infringing

                        3    United States Patent No. 10,165,877, and/or United States Design Patent Nos. D696,551,

                        4    D748,478, D820,038, and/or D697,798, and any products that are not colorably different from

                        5    these products;

                        6            E. That the Court issue a preliminary and permanent injunction against Defendant, its

                        7    agents, servants, employees, representatives, successors, and assigns, and all persons, firms, or

                        8    corporations in active concert or activities and from assisting or inducing, directly or indirectly,

                        9    others to engage in the following activities:
                       10                   1.      manufacturing, importing, marketing, displaying, distributing, offering to

                       11                           sell, and/or selling Defendant’s products infringing the Bottle Trade Dress

                       12                           or any products that are not colorably different therefrom;

                       13                   2.      using BlenderBottle®’s Bottle Trade Dress or any other trade dress that is

                       14                           confusingly similar to BlenderBottle®’s Bottle Trade Dress;

                       15                   3.      falsely designating the origin of Defendant’s products;

                       16                   4.      passing off Defendant’s products as those of BlenderBottle®;

                       17                   5.      misrepresenting by any means whatsoever, directly or indirectly, the source

                       18                           or sponsorship of any of Defendant’s products;
                       19                   6.      unfairly competing with BlenderBottle® in any manner whatsoever; and

                       20                   7.      causing a likelihood of confusion or injuries to BlenderBottle®’s business

                       21                           reputation.

                       22            F. That an accounting be ordered to determine Defendant’s profits resulting from its trade

                       23    dress infringement, false designation or origin, passing off, and unfair competition;

                       24            G. That BlenderBottle® be awarded monetary relief in an amount to be fixed by the Court

                       25    in its discretion as it finds just as an equitable remedy and as a remedy under 15 U.S.C. § 1117,

                       26    including all damages sustained by BlenderBottle® as a result of Defendant’s acts of trade dress

                       27    infringement, false designation of origin, passing off, and unfair competition, all profits received

                       28    by Defendant from sales and revenues of any kind made as a result of its infringing actions, and
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                            Case 2:21-cv-00624-MMD-NJK Document 1 Filed 04/15/21 Page 17 of 18




                        1    the costs of this action. That such award of BlenderBottle® of damages and profits be trebled

                        2    pursuant to 15 U.S.C. § 1117;

                        3            H. An Order adjudging that this is an exceptional case under 15 U.S.C. § 1117 and/or 35

                        4    U.S.C. § 285;

                        5            I. An Order that Defendant’s infringement is willful and a trebling of damages and/or

                        6    exemplary or punitive damages because of Defendant’s willful conduct pursuant to

                        7    35 U.S.C. § 284;

                        8            J. An award to BlenderBottle® of the attorneys’ fees, expenses, and costs incurred by

                        9    BlenderBottle® in connection with this action pursuant to 35 U.S.C. § 285, 15 U.S.C. § 1117,
                       10    and/or NRS 598.0999 and Nevada common law;

                       11            K. An award of pre-judgment and post-judgment interest and costs of this action against

                       12    Defendant; and,

                       13            L. Such other and further relief as this Court may deem just and proper.

                       14    //

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                            Case 2:21-cv-00624-MMD-NJK Document 1 Filed 04/15/21 Page 18 of 18




                        1                                                JURY DEMAND

                        2                    Plaintiff Trove Brands, LLC, d/b/a The BlenderBottle Company hereby demands

                        3    a trial by jury on all issues so triable.

                        4            Dated: April 15, 2021

                        5                                                   WEIDE & MILLER, LTD.

                        6                                                   By:    /s/ F. Christopher Austin_____
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                       14
                                                                            Attorneys for Plaintiff
                       15                                                  TROVE        BRANDS,     LLC       d/b/a   THE
                                                                            BLENDERBOTTLE COMPANY
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